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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors.1                           (Jointly Administered)


          FIRST QUARTERLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR THE
           PERIOD FROM AUGUST 9, 2023 THROUGH OCTOBER 31, 2023

    Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                           Debtors and Debtors in Possession
    to:
                                                           Effective as of August 9, 2023 by order signed
    Date of Retention:
                                                           September 11, 2023 [Docket No. 232]
    Period for which Compensation and
                                                           August 9, 2023 through October 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                           $6,634,632.00
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                           $164,868.31
    as Actual, Reasonable and Necessary:
    Rates are Higher than those Approved or
    Disclosed at Retention? Yes__ No _x_
                                                           No
    If yes, Total Compensation Sought Using
    Rates Disclosed in Retention Application:
    Compensation Sought in this Application
    Already Paid Pursuant to a Monthly                     $2,825,636.20
    Compensation Order but not yet Allowed:
    Expenses Sought in this Application
    Already Paid Pursuant to a Monthly                     $24,745.03
    Compensation Order but not yet Allowed:
    Number of Professionals Included in this
                                                           38
    Application:

1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc. principal place
      of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      The applicant reserves the right to include any time expended in the time period indicated above in future
      application(s) if it is not included herein.


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 Name of Applicant:                                 Pachulski Stang Ziehl & Jones LLP
 If Applicable, Difference Between Fees
 Budgeted and Compensation Sought for this          N/A
 Period:
 Number of Professionals Billing Fewer than
                                                    10
 15 Hours to the Case During this Period:

This is a:           monthly         interim      final application.

                    The total time expended for fee application preparation is approximately 8.0 hours

and the corresponding compensation requested is approximately $4,500.00.


                                PRIOR MONTHLY APPLICATIONS FILED

 Date Filed           Period Covered        Requested         Requested      Approved          Approved
                                               Fees           Expenses          Fees           Expenses
11.01.2023          08.09.23 - 08.31.23    $1,275,515.75      $10,533.41    $1,275,515.75      $10,533.41
11.22.2023          09.01.23 - 09.30.23    $2,256,529.50      $14,211.62    $2,256,529.50      $14,211.62
12.01.2023          10.01.23 - 10.31.23    $3,102,586.75     $140,123.28    $3,102,586.75     $140,123.28


                                          PSZJ PROFESSIONALS

                                                                    Hourly
                                  Position of the Applicant,                    Total
 Name of Professional                                            Billing Rate                  Total
                                  Year of Obtaining License                     Hours
     Individual                                                   (including                Compensation
                                          to Practice                           Billed
                                                                   Changes)
 Pachulski, Isaac M.             Partner, 1974                   $1,995.00       46.70      $ 93,166.50
 Pachulski, Richard M.           Partner, 1979                   $1,895.00      413.30      $783,203.50
 Davidson, Jeffrey H.            Partner, 1977                   $1,895.00        6.50      $ 12,317.50
 Kornfeld, Alan J.               Partner, 1987                   $1,675.00      382.60      $640,855.00
 Kharasch, Ira D.                Partner, 1982                   $1,645.00        4.00      $ 6,580.00
 Barton, David J.                Partner, 1982                   $1,645.00        2.30      $ 3,783.50
 Grassgreen, Debra I.            Partner, 1992                   $1,550.00      477.60      $740,280.00
 Kevane, Henry C.                Partner, 1986                   $1,550.00      356.10      $551,955.00
 Gruber, Richard J.              Counsel, 1982                   $1,525.00       58.80      $ 89,670.00
 Brown, Kenneth H.               Partner, 1981                   $1,525.00        5.10      $ 7,777.50
 Elkin, Judith                   Counsel, 1982                   $1,450.00      239.30      $346,985.00
 Cantor, Linda F.                Partner, 1988                   $1,450.00       48.00      $ 69,600.00
 Litvak, Maxim B.                Partner, 1997                   $1,445.00       90.50      $130,772.50
 Nasatir, Iain A.W.              Partner, 1983                   $1,395.00        9.40      $ 13,113.00
 Hochman, Harry D.               Counsel, 1987                   $1,350.00       43.70      $ 58,995.00


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                                                                  Hourly
                                Position of the Applicant,                      Total
 Name of Professional                                          Billing Rate                    Total
                                Year of Obtaining License                       Hours
     Individual                                                 (including                  Compensation
                                        to Practice                             Billed
                                                                 Changes)
 Hunter, James KT               Counsel, 1976                  $1,350.00         2.60       $ 3,510.00
 Glazer, Gabriel I.             Partner, 2006                  $1,325.00        97.00       $128,525.00
 Pagay, Malhar S.               Partner, 1997                  $1,295.00       312.50       $404,687.50
 Bomrind, Zev M.                Partner, 1997                  $1,295.00         2.60       $ 3,367.00
 O'Neill, James E.              Partner, 1985                  $1,275.00       401.60       $512,040.00
 Kim, Jonathan J.               Counsel, 1996                  $1,175.00       125.10       $146,992.50
 Newmark, Victoria A.           Counsel, 1996                  $1,175.00        15.00       $ 17,625.00
 Lucas, John W.                 Partner, 2005                  $1,150.00         3.40       $ 3,910.00
 Levine, Beth E.                Counsel, 1992                  $1,095.00       110.00       $120,450.00
 Robinson, Colin R.             Counsel, 1997                  $1,095.00        29.90       $ 32,740.50
 Gray, Erin                     Counsel, 1992                  $1,095.00        14.90       $ 16,315.50
 Saunders, Robert M.            Counsel, 1984                  $1,095.00         8.90       $ 9,745.50
 Hong, Nina L.                  Partner, 1996                  $1,075.00        99.70       $107,177.50
 Flanagan, Tavi C.              Counsel, 1993                  $1,075.00        94.40       $101,480.00
 Brandt, Gina F.                Counsel, 1976                  $1,050.00        30.60       $ 32,130.00
 Rosell, Jason H.               Partner, 2010                    $995.00       308.70       $307,156.50
 Brown, Gillian N.              Counsel, 1999                    $975.00       161.20       $157,170.00
 Ramseyer, William L.           Counsel, 1980                    $975.00       112.10       $109,297.50
 Pachulski, Richard M.          Partner, 1979                    $947.50        29.30       $ 27,761.75
 Manning , Miriam               Counsel, 1995                    $925.00        28.00       $ 25,900.00
 Mackle, Cia H.                 Counsel, 2006                    $925.00        20.20       $ 18,685.00
 Golden, Steven W.              Partner, 2015                    $895.00       502.70       $449,916.50
 Kornfeld, Alan J.              Partner, 1987                    $837.50        10.70       $ 8,961.25
 Grassgreen, Debra I.           Partner, 1992                    $775.00        26.30       $ 20,382.50
 Corma, Edward A.               Associate, 2018                  $725.00       130.70       $ 94,757.50
 Forrester, Leslie A.           Law Library Director             $595.00        17.10       $ 10,174.50
 Levine, Beth E.                Counsel, 1992                    $547.50         5.60       $ 3,066.00
 Jeffries, Patricia J.          Paralegal                        $545.00       244.90       $133,470.50
 Petras, Lisa                   Paralegal                        $545.00        97.70       $ 53,246.50
 Densmore, Ian D.               Paralegal                        $545.00         9.70       $ 5,286.50
 Yee, Karina K.                 Paralegal                        $545.00         3.50       $ 1,907.50
 Cuniff, Patricia E.            Paralegal                        $545.00         2.10       $ 1,144.50
 Dassa, Beth D.                 Paralegal                        $545.00         0.20       $    109.00
 Knotts, Cheryl A.              Paralegal                        $495.00         1.80       $    891.00
 Paul, Andrea R.                Case Management Assistant        $425.00        28.70       $ 12,197.50
 Bouzoukis, Charles J.          Case Management Assistant        $425.00         8.00       $ 3,400.00

                                          Grand Total:       $6,634,632.00
                                          Total Hours:            5,281.30
                                          Blended Rate:          $1,256.25



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                                 COMPENSATION BY CATEGORY


                        Project Categories                   Total Hours        Total Fees
 Appeals                                                          3.70         $    5,103.00
 Asset Analysis and Recovery                                     60.50         $ 69,898.50
 Asset Disposition                                              218.90         $ 259,122.50
 Avoidance Action Analysis                                        0.70         $      918.50
 Bankruptcy Litigation                                          934.70         $1,066,537.00
 Business Operations                                             32.70         $ 36,630.50
 Case Administration                                            267.30         $ 267,789.00
 Claims Administration and Objections                           129.10         $ 177,232.00
 Contract and Lease Matters                                     536.70         $ 680,809.50
 Corporate Governance                                            59.70         $ 97,601.00
 Employee Benefits/Pensions and KEIP/KERP                        41.20         $ 55,388.00
 Financial Filings                                               58.30         $ 54,595.50
 Financing/Cash Collateral/Cash Management                     1302.10         $1,813,742.00
 First/Second Day Matters                                       157.50         $ 162,815.50
 General Creditors' Committee                                    28.40         $ 37,393.50
 Hearings                                                        43.70         $ 52,890.00
 Insurance Coverage                                               9.70         $ 13,495.50
 Insurance Issues                                                 3.30         $    3,603.50
 Litigation (Non-Bankruptcy)                                     13.20         $ 10,189.50
 Meetings of and Communications with Creditors                   12.80         $ 14,087.00
 Non-Working Travel                                              71.90         $ 60,171.50
 Operations                                                      32.70         $ 31,426.50
 Other Professional Compensation                                 72.80         $ 74,065.00
 Other Professional Retention                                   322.80         $ 406,813.50
 Plan and Disclosure Statement                                  802.30         $1,112,221.50
 PSZJ Compensation                                               17.20         $ 13,578.00
 PSZJ Retention                                                  16.70         $ 21,048.50
 Stay Litigation                                                 21.20         $ 19,553.50
 Travel                                                           9.50         $ 15,912.50
 Total                                                        5,281.30         $6,634,632.00




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                                          EXPENSE SUMMARY

                                                          Service Provider                     Total
                Expense Category
                                                           (if applicable)3                   Expenses
                                                   United Airlines, American
    Air Fare                                                                                $12,606.29
                                                   Airlines
                                                   Nationwide Legal, Specialized
    Attorney Service                                                                            $304.20
                                                   Legal
                                                   KLS Transportation, Uber,
    Auto Travel Expense                            Lyft, DE Limo, A&H                        $5,848.36
                                                   Transportation
    Bloomberg                                                                                  $408.50
    Conference Call                                AT&T                                         $36.83
    Court Fees                                     USBC DE                                   $5,552.00
    Delivery/Courier Service                       Advita, Parcel, AVS Printing              $2,912.70
    Federal Express                                                                            $569.78
    Hotel Expense                                  DuPont, St. Regis, Ritz                  $12,930.15
    Lexis/Nexis- Legal Research                                                              $2,543.50
                                                   KLDiscovery, CLAS
                                                   Research, T. Martens –
    Litigation Support Vendors                                                              $81,158.43
                                                   witness, The Perfect Witness
                                                   Co.
    Pacer - Court Research                                                                   $3,190.00
    Reproduction Expense - @0.10 per page                                                    $9,186.00
    Transcript                            Veritext, Escribers, Reliable                     $24,925.44
    Travel Expense                                                                              $46.00
    Witness Fee                                                                                $119.00
                                          Starbucks, Chickies & Petes,
    Working Meals                                                                            $2,531.13
                                          Mezzorgiorno, Bardea Garden
    Total                                                                                  $164,868.31




3
  PSZJ may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                              Objection Deadline: January 23, 2024, at 4:00 p.m.
                                                                                           Hearing Date: TBD

          FIRST QUARTERLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR THE
           PERIOD FROM AUGUST 9, 2023 THROUGH OCTOBER 31, 2023

          Pursuant to sections 330 and 331 of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the “Bankruptcy

Rules”), and the Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals, entered on September 14, 2023 [Docket No. 279]

(the “Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its First Quarterly

Application for Compensation and for Reimbursement of Expenses for the Period from August 9,

2023 through October 31, 2023 (the “Application”).

          By this Application PSZJ seeks an interim allowance of compensation in the amount of

$6,634,632.00 and actual and necessary expenses in the amount of $164,868.31 for a total

allowance of $6,799,500.31 and payment of the unpaid amount of such fees and expenses for the


1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc. principal place
     of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.



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period August 9, 2023 through October 31, 2023 (the “Fee Period”). In support of this Application,

PSZJ respectfully represents as follows:

                                              Background

          1.        On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          2.        On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the Official Committee of Unsecured Creditors (the “Committee”), consisting of the

following seven members:           (i) Cosan U.S. Inc., (ii) U.S. Bank Trust Company, National

Association as Trustee, (iii) Sartorius Stedim North America, Inc., (iv) Hearst Magazine Media,

Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog Participacoes, Ltda. See

Docket No. 152.

          3.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          4.        On September 14, 2023, the Court entered the Administrative Order, authorizing

estate professionals (“Professionals”) to submit applications for interim compensation and

reimbursement for expenses, pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that a Professional may submit Monthly Applications. If no

objections are made within fourteen (14) days after service of the Monthly Application the Debtors

are authorized to pay the Professional eighty percent (80%) of the requested fees and one hundred



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percent (100%) of the requested expenses. Beginning with the period ending October 31, 2023,

and at three-month intervals or such other intervals convenient to the Court, each of the

Professionals may file and serve an interim application for allowance of the amounts sought in its

Monthly Applications for that period. All fees and expenses paid are on an interim basis until final

allowance by the Court.

          5.        The retention of PSZJ, as counsel for the Debtors, was approved effective as of

August 9, 2023 by this Court’s Order Authorizing the Employment and Retention of Pachulski

Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date, entered on

September 11, 2023 (the “Retention Order”). The Retention Order authorized PSZJ to be

compensated on an hourly basis and to be reimbursed for actual and necessary out-of-pocket

expenses.

          6.        Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy Code must

comply with certain requirements of the United States Trustee’s Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. §330 by

Attorneys in Larger Chapter 11 Cases (the “Revised UST Guidelines”). The Office of the United

States Trustee has promulgated forms to aid in compliance with the Revised UST Guidelines.

Charts and tables based on such forms are attached hereto as exhibits and filled out with data to

the extent relevant to these cases:        Exhibit A, Customary and Comparable Compensation

Disclosures with Fee Applications; Exhibit B, Summary of Timekeepers Included in this Fee

Application, Exhibit C, Staffing Plan; Exhibit D-1, Summary of Compensation Requested by




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Project Category; Exhibit D-2, Summary of Expense Reimbursement Requested by Category; and

Exhibit E, Summary Cover Sheet of Fee Application.

                         PSZJ’s APPLICATION FOR COMPENSATION AND
                              FOR REIMBURSEMENT OF EXPENSES

                                  Compensation Paid and Its Source

          7.        The Monthly Applications (the “Monthly Applications”) for the periods August 9,

2023 through October 31, 2023 of PSZJ have been filed and served pursuant to the Administrative

Order.

          8.        On November 1, 2023, PSZJ filed its First Monthly Application for Compensation

and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors

and Debtors in Possession, for the Period from August 9, 2023 through August 31, 2023 [Docket

No. 663] (the “First Monthly Application”) requesting $1,275,515.75 in fees and $10,553.41 in

expenses. PSZJ has received payment on account of 80% of the fees and 100% of the expenses

requested in the First Monthly Application. A true and correct copy of the First Monthly

Application is attached hereto as Exhibit F.

          9.        On November 22, 2023, PSZJ filed its Second Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel

for the Debtors and Debtors in Possession, for the Period from September 1, 2023 through

September 30, 2023 [Docket No. 778] (the “Second Monthly Application”) requesting

$2,256,529.50 in fees and $14,211.62 in expenses. PSZJ has received payment on account of 80%

of the fees and 100% of the expenses requested in the Second Monthly Application. A true and

correct copy of the Second Monthly Application is attached hereto as Exhibit G.


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          10.       On December 1, 2023, PSZJ filed its Third Monthly Application for Compensation

and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors

and Debtors in Possession, for the Period from October 1, 2023 through October 31, 2023

[Docket No. 805] (the “Third Monthly Application”) requesting $3,102,586.75 in fees and

$140,123.28 in expenses. PSZJ has received payment on account of 80% of the fees and 100% of

the expenses requested in the Third Monthly Application. A true and correct copy of the Third

Monthly Application is attached hereto as Exhibit H.

          11.       The Monthly Applications covered by this Application contain detailed daily time

logs describing the actual and necessary services provided by PSZJ during the periods covered by

such applications as well as other detailed information required to be included in fee applications.

                                             Requested Relief

          12.       By this Application, PSZJ requests that the Court approve payment of one-hundred

percent (100%) of the fees and expenses incurred by PSZJ during the Interim Period of August 9,

2023 through October 31, 2023.

          13.       At all relevant times, PSZJ has not represented any party having an interest adverse

to these cases.

          14.       All services for which PSZJ requests compensation were performed for or on behalf

of the Debtors.

          15.       PSZJ, and any partner, of counsel, or associate thereof, have received no payment

and no promises for payment from any source other than from the Debtors for services rendered

or to be rendered in any capacity whatsoever in connection with the matters covered by this



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Application. There is no agreement or understanding between PSZJ and any other person other

than among the partners, of counsel, or associates of PSZJ for the sharing of compensation to be

received for services rendered in these cases. PSZJ has received payments from the Debtors during

the year prior to the Petition Date in the amount of $1,874,692.00, in connection with the

preparation of initial documents and its prepetition representation of the Debtors. PSZJ has applied

all prepetition payments to all outstanding prepetition fees and expenses.

          16.       The professional services and related expenses for which PSZJ requests interim

allowance of compensation and reimbursement of expenses were rendered and incurred in

connection with this case in the discharge of PSZJ’s professional responsibilities as attorneys for

the Debtors in these Chapter 11 Cases. PSZJ’s services have been necessary and beneficial to the

Debtors and their estates, the Committee, creditors and other parties in interest.

          17.       In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by PSZJ is fair and reasonable given (a) the

complexity of the case, (b) the time expended, (c) the nature and extent of the services rendered,

(d) the value of such services, and (e) the costs of comparable services other than in a case under

the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements of Del. Bankr. LR 2016-2

and the Administrative Order and believes that this Application complies with such Rule and

Order.




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                                      Statement from PSZJ

          18.       Pursuant to the Appendix B Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PSZJ responds to the following questions regarding the Application:

                                                                                  Additional
                       Question                       Yes           No          Explanation or
                                                                                 Clarification
 Did you agree to any variations from, or                     No.
 alternatives to, your standard or customary
 billing rates, fees or terms for services
 pertaining to this engagement that were
 provided during the application period? If
 so, please explain.
 If the fees sought in this fee application as                N/A
 compared to the fees budgeted for the
 time period covered by this fee application
 higher by 10% or more, did you discuss
 the reasons for the variation with the
 client?
 Have any of the professionals included in                    No.
 this fee application varied their hourly rate
 based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or      Yes.
 fees related to reviewing or revising time
 records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or                    No.
 fees for reviewing time records to redact
 any privileged or other confidential
 information? If so, please quantify by
 hours and fees.
 If the fee application includes any rate                     N/A
 increases since retention in these Cases:
      i.      Did your client review and
              approve those rate increases in
              advance?
      ii.     Did your client agree when
              retaining the law firm to accept
              all future rate increases? If



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                                                                                    Additional
                       Question                        Yes           No           Explanation or
                                                                                   Clarification
                not, did you inform your client
                that they need not agree to
                modified rates or terms in
                order to have you continue the
                representation, consistent with
                ABA Formal Ethics Opinion
                11-458?

          WHEREFORE, PSZJ respectfully requests that, for the period August 9, 2023 through

October 31, 2023, an interim allowance be made to PSZJ for compensation in the amount of

$6,634,632.00 and actual and necessary expenses in the amount of $164,868.31 for a total

allowance of $6,799,500.31 and that the Debtors be authorized and directed to pay to PSZJ the

outstanding amount of such sums; and for such other and further relief as may be just and proper.

 Dated: January 2, 2024                               PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ James E. O’Neill
                                                      Richard M. Pachulski (admitted pro hac vice)
                                                      Debra I. Grassgreen (admitted pro hac vice)
                                                      James E. O’Neill (DE Bar No. 4042)
                                                      Jason H. Rosell (admitted pro hac vice)
                                                      Steven W. Golden (DE Bar No. 6807)
                                                      919 N. Market Street, 17th Floor
                                                      P.O. Box 8705
                                                      Wilmington, DE 19899-8705 (Courier 19801)
                                                      Telephone: (302) 652-4100
                                                      Facsimile: (302) 652-4400
                                                      Email: rpachulski@pszjlaw.com
                                                              dgrassgreen@pszjlaw.com
                                                              joneill@pszjlaw.com
                                                              jrosell@pszjlaw.com
                                                              sgolden@pszjlaw.com

                                                      Counsel to the Debtors and Debtors in Possession




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                                             DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :

          James E. O’Neill, after being duly sworn according to law, deposes and says:

          a)        I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones LLP,

and am admitted to appear before this Court.

          b)        I am familiar with the legal services rendered by PSZJ as counsel to the

Committee.

          c)        I have reviewed the foregoing Application and the facts set forth therein are true

and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2, the Administrative Order signed on or about September 14, 2023 and

submit that the Application substantially complies with such rule and orders.


                                                          /s/ James E. O’Neill
                                                           James E. O’Neill




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